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7                           UNITED STATES DISTRICT COURT
8                         SOUTHERN DISTRICT OF CALIFORNIA
9
10   TWIN CITY FIRE INSURANCE                     )    Case No.: 3:20-cv-02475-BEN-AGS
     COMPANY, an Indiana corporation;             )
11
     HARTFORD ACCIDENT AND                        )    ORDER GRANTING JOINT
12   INDEMNITY COMPANY, a Connecticut             )    MOTION TO EXTEND TIME FOR
     corporation; and HARTFORD                    )    DEFENDANT TO RESPOND TO
13
     UNDERWRITERS INSURANCE                       )    COMPLAINT
14   COMPANY, a Connecticut corporation,          )
                         Plaintiff,               )    [ECF No. 5]
15
                                                  )
16   v.                                           )
                                                  )
17   SYSTEMS AND SOFTWARE
                                                  )
     ENTERPRISES, LLC now known as
18                                                )
     SAFRAN PASSENGER
                                                  )
19   INNOVATIONS, LLC, a California
                                                  )
     corporation,
20                                                )
                         Defendant.               )
21
22   I.    INTRODUCTION

23         Plaintiffs Twin City Fire Insurance Company, an Indiana corporation; Hartford
24   Accident and Indemnity Company, a Connecticut corporation; and Hartford Underwriters
25   Insurance Company, a Connecticut corporation (collectively, “Plaintiffs”), bring this action
26   for breach of contract against Defendant Systems and Software Enterprises, LLC now

27   known as Safran Passenger Innovations, LLC, a California corporation (“Defendant”).

28   ECF No. 1. Before the Court is Plaintiffs and Defendant’s Stipulation to Extend Time for

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1    Defendant to respond to the complaint (the “Joint Motion”). ECF No. 5. After considering
2    the papers submitted, supporting documentation, and applicable law, the Court GRANTS
3    the Joint Motion.
4    II.    BACKGROUND
5           On December 18, 2020, Plaintiffs filed suit against Defendant, alleging three claims
6    for relief for: (1) breach of contract; (2) account stated; and (3) unjust enrichment/quantum
7    meruit. ECF No. 1.
8           On December 21, 2020, Plaintiffs served Defendant. ECF No. 5 at 2; see also ECF
9    No. 4. On January 8, 2021, Plaintiffs and Defendant filed a Stipulation for Extension of
10   Time to Respond to Initial Complaint, seeking to extend Defendant’s time to file a
11   responsive pleading from Monday, January 11, 2021, to Wednesday, February 10, 2021.
12   ECF No. 5 at 2.
13   III.   LEGAL STANDARD
14          Rule 12 of the Federal Rules of Civil Procedure requires a defendant to file a
15   responsive pleading within either (1) twenty-one days of being served with the summons
16   and complaint or (2) sixty days after the request for a waiver was sent. Pursuant to the
17   Local Rules, “[e]xtensions of time for answering, or moving to dismiss a complaint will
18   only be secured by obtaining the approval of a judicial officer, who will base the decision
19   on a showing of good case.” S.D. Cal. Civ. R. 12.1. Thus, “[i]n the Southern District,
20   court approval is required for any extension of time to answer or move to dismiss the
21   complaint.” Phillips, Virginia A., et al., Rutter Group Prac. Guide: Fed. Civ. Pro. Before
22   Trial, § 8:913 (The Rutter Group April 2020).
23   IV.    ORDER
24          The Court finds good cause exists for the extension. Thus, the Court GRANTS the
25   Joint Motion. Defendant shall until February 10, 2021 to respond to the complaint.
26          IT IS SO ORDERED.
27     DATED:      January 11, 2021
28                                                        HON. ROGER T. BENITEZ
                                                           United States District Judge
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